                     UNITED STATES DISTRICT COURT
                     WESTERN DISTRICT OF MISSOURI


KEVIN STEPHENS

           Plaintiff,
v.                                                      COMPLAINT

VERIZON WIRELESS (VAW) LLC

           Defendant.




                               INTRODUCTION

1.   This action arises out of the Defendant’s repeated violations of the Telephone

     Consumer Protection Act (“TCPA”), 47 U.S.C. § 227.

2.   "The TCPA is designed to protect individual consumers from receiving

     intrusive and unwanted telephone calls." Mims v. Arrow Fin. Servs., LLC, 132

     S.Ct., 740, 745, 181, L.Ed. 2d 881 (2012).

                                JURISDICTION

3.   Jurisdiction of this Court arises under 28 U.S.C. § 1331 and pursuant to 47

     U.S.C. § 227.

4.   Venue is proper in this District because the acts and transactions occurred

     here, Plaintiff resides here, and Defendant transacts business here.

                                    PARTIES



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5.    Kevin Stephens (“Plaintiff”) is a natural person who resides in the City of Blue

      Springs, Missouri.

6.    Plaintiff is the "called party." See Soppet v. Enhanced Recovery Co., LLC, 679

      F.3d 637, 643 (7th Cir. 2012), reh'g denied (May 25, 2012).

7.    Verizon Wireless (VAW) LLC (“Verizon”) is a foreign limited liability

      company conducting business in the state of Missouri through its Registered

      agent, C T Corporation Company, 120 South Central Avenue, Clayton, MO

      63105.

                           FACTUAL ALLEGATIONS

                                 TCPA Violations

8.    Within four years of filing this Complaint, Verizon repeatedly contacted

      Plaintiff on his cellular telephone at (816) 730-1625.

9.    Upon information and belief of Plaintiff, Verizon was attempting to contact

      "Charmilla Bentley."

10.   At all times relevant to this Complaint, Verizon used, controlled, and operated

      “automatic telephone dialing systems” as defined by the TCPA, 47 U.S.C. §

      227(a)(1) and 47 C.F.R. 64.1200(f)(2).

11.   At all times relevant to this Complaint, Verizon used, controlled and utilized

      "artificial or prerecorded voice messages" as defined by the TCPA, 47 U.S.C.

      § 227(a)(1).



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12.   Verizon initiated these calls using an automatic telephone dialing system.

13.   These calls came from a variety of numbers, including but not limited to (816)

      332-6887, (816) 359-3642, (816) 359-3642 and (816) 332-6873.

14.   Within these calls to Plaintiff, Verizon utilized pre-recorded messages.

15.   Plaintiff will testify that upon answering several of these calls, he would hear a

      prerecorded message and was not immediately connected to a live person.

16.   These prerecorded messages identified Verizon as the caller.

17.   Verizon did not have Plaintiff's prior express consent to call his cellular

      telephone number.

18.   Furthermore, Plaintiff repeatedly informed representatives of Verizon,

      including multiple supervisors, that Verizon was contacting the wrong

      person.

19.   Plaintiff repeatedly informed representatives of Verizon, including multiple

      supervisors, that he wanted the calls to his cellular phone to stop.

20.   Verizon should have discontinued future calls after being informed by

      Plaintiff that they were contacting the wrong person.

21.   Verizon should have discontinued future calls after being informed by

      Plaintiff that he desired the calls to stop.

22.   Instead, Verizon continued to call Plaintiff almost daily not withstanding his

      requests that the calls cease.



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23.   Verizon’s repeated autodialed calls to Plaintiff’s cell phone were unlawful

      communications in violation of the TCPA.

24.   Furthermore, Verizon's failure to cease contacting Plaintiff after being

      requested to do so constituted a willful violation of the TCPA, entitling

      Plaintiff to treble damages.

                               PRAYER FOR RELIEF

      WHEREFORE, Plaintiff prays that judgment be entered against Verizon as

follows:

 VIOLATIONS OF THE TELEPHONE CONSUMER PROTECTION ACT

                                47 U.S.C. § 227 et seq.

       For an award of statutory damages of $500.00 per call pursuant to 47

           U.S.C. § 227(b)(3)(B) against Verizon and for Plaintiff;

       For an award of treble damages of $1,500.00 per call pursuant to 47

           U.S.C. § 227(b)(3) against Verizon and for Plaintiff;

       For such other and further relief as may be just and proper.



                                   JURY DEMAND

             Plaintiff respectfully requests a trial by jury on all issues so triable.




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                                       Respectfully submitted,

Dated: January 26, 2016                CREDIT LAW CENTER LLC

                                       By: s/Andrew M. Esselman
                                       Andrew M. Esselman #64837
                                       255 NW Blue Parkway, Suite 200
                                       Lee's Summit, MO 64063
                                       Tele: (816) 994-6200
                                       Fax: (816) 396-6240
                                       AndrewE@creditlawcenter.com

                                       Attorney for Plaintiff




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